Exhibit 13
                                                                                                        Exhibit C-398




To:        'asher@bsgresources.com'[asher@bsgresources.com]
From:      Beny Steinmetz
Sent:      Mon 09/05/2011 4:21 :48 PM
Subject:   Re: Symposium.

I think it is very good , just the legal staff in begeining should go to end , and don't speak about
conseceanse . Just say again that it is against our legal agreement. That is all . Don't threathen .
Most imprtant is the rest ! Also say that BSGR always acted and acts in good face and trying to
make the best for VBG , and will continoue doing so !

----- Original Message -----
From: Asher Avidan <asher@bsgresources.com>
To: Beny Steinmetz
Sent: Mon May 09 18:11:28 2011
Subject: RE: Symposium.

Beny- ita€™s strong but I think ita€™s good. Advisea€:



Ricardo- This is a very serious legal issue and I assume you have consulted with your legal
department before responding. However, although I think you are totally wrong with your legal
approach, allow me to comment as a Director of VBG, and as someone who understands the
inside politics of the country and the sensitivity to the our partnership.

With all due respect to the brand of Vale which I admire very much, allow me to remind you that
the brand of Rio Tinto did not protect them from losing it. GoG have never signed with Vale and
Vale does not exist in Guinea as far as iron ore is concerned.

From your answer below, I understand that there is a deliberate approach from Vale Corporate to
see BSGR as damaging your name and image in Guinea and Liberiaa€: However, in all due
respect, allow me to stress that it is the exact contrary in Guinea. In spite of what you might think
BSGR has still lots of admiration in this country. To make a long story short, take my humble
advise and act according to our official agreement by putting BSGR beside Vale in order avoid
tomorrow confrontations and serious questions from the Symposium audience which we will not
be able to prevent or control.

 The long term damage from the consequences of this ambiguous message risks to legitimating
the message and attempt of the President to separate BSGR from VBG and all what comes with
it.

Clearly this approach which have been repeated in the past, in our opinion, is damaging the
project!BSGR/and VBG.



For the record, please note again that I have never agreed to subscribe to this as you implied
below.



Good luck again.

Asher




                                                                                               BSGR-LCIA-0002338
Asher A vidan



President BSGR



www .bsgms.com <http://www .bsgms.com>



7 Old Park Lane

London W1 K 1QR

United Kingdom




From: ricardo.saad@vale.com [mailto:ricardo.saad@vale.com]
Sent: Monday, May 09, 2011 2:54 PM
To: Asher Avidan
Cc: Beny Steinmetz; daniela.chimisso@vale.com; David Barnett; eduardo.ledsham@vale.com
Subject: Re: Symposium.




Dear Asher,

Just let you know that we are revising the delegates list, because there was a confusion among
the organizers and VBG Communication team. I will send you the revised one asap.

Regarding the communication strategy applied in both events (Liberia and Guinee) we are
following a corporate approach, where it is assumed that Vale has a strong brand, so it makes
more effective and powerful! the communication process. We are doing the same as Rio and
BHP, where they use the corporate branding.
I understand we have talked about it some times and I assumed you have agreed with.

best regards
Ricardo Saad




                                                                                    BSG R-LC IA-0002338_ 0002
Asher Avidan <asher@bsgresources.com>

09/05/2011 08:25

           Para

           "ricardo.saad@vale.com" <ricardo.saad@vale.com>


cc

       Beny Steinmetz <beny@onyx-suisse.com>, "eduardo.ledsham@vale.com"
<eduardo.ledsham@vale.com>, "daniela.chimisso@vale.com" <daniela.chimisso@vale.com>,
David Barnett <david@bsgms.com>


Ass unto

           Symposium.




Dear Ricardo, Since I haven't heard anything and on the meantime we are waiting I would
appreciate If you'll send me the list of the delegation to the Symposium, as was sent to the
organizers.

Thanks


Asher A vidan

President BSGR

www .bsgms.com

7 Old Park Lane
London W1 K 1QR
United Kingdom




-----Original Message-----
From: Asher Avidan
Sent: Sunday, May 08, 2011 6:42 PM




                                                                                       BSG R-LC IA-0002338_ 0003
To: ricardo.saad@vale.com
Cc: Beny Steinmetz; 'eduardo.ledsham@vale.com'; daniela.chimisso@vale.com; 'David Barnett'
Subject: FW: IMG01851-20110410-1228.jpg
Importance: High

Ricardo.

I got another call about it just now from another official that visited the stands, and I attached the
picture from Liberia Symposium and which I refuse to believe that in the beginning BSGR logo
was in the boot, but your guy (Abubacar Camara) Hided it and took it off. I totally disagree to this.
TOTALLY.

Asher A vidan




Dear Ricardo.

Following our discussion (you and me) and in accordance with our JV agreement- I urge you to
make sure and re verify that BSGR will be mentioned and appear as much as VALE on all the
domains and media. It should be on: The Logo, the signs, publicity, presentation, brochures,
Reception etc.
Since I don't want to repeat the mistakes from the last ceremony in Guinea and recently the same
mistake was made in Liberia, I feel like I must remind you this issue, and especially after I heard
today from the organizers of the Symposium that the "Cervice de comonication" of Vale
demanded them and insisted to take out the Logo of BSGR and leave Vale only! If this will be the
case it will damage and jeopardize our Lobby and efforts that we do today vis-a-vis the people of
the entire Administration and especially THE PRESEDENT. I don't want to remind and mention
the damage we had on experience, This time it will be crucial. Moreover, the steering committee
(pilotage) of the Symposium just phoned me to stress that only Vale is mentioned on the booth
and I quote "GoG has no convention with Vale whatsoever and we are starting to make a scandal
about this as it is shocking to us".

I thank you for the cooperation.
Good luck.
Asher

Asher A vidan

President BSGR

www .bsgms.com

7 Old Park Lane
London W1 K 1QR
United Kingdom




                                                                                          BSG R-LC IA-0002338_ 0004
